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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            ) CASE NO. 3:19-cr-00001-TJC-PDB
                                              )
JOHN R. NETTLETON,                            )
     Defendant.                               )



                              DEFENDANT’S UNOPPOSED MOTION
                                    TO CONTINUE SENTENCING


       Defendant JOHN R. NETTLETON, by and through below counsel, respectfully moves to

continue the sentencing in the above-captioned case, which the Court scheduled for June 16, 2020.

The Defendant makes this request because of the current coronavirus threat and potential dangers

to trial participants. Furthermore, members of Defendant’s defense team and several witnesses

have issues known to increase the risk of complications due to COVID-19 infection. The

Government has no objection to this request for a continuance.

       Furthermore, the parties have conferred and confirmed that all counsel are available for the

sentencing on August 17, 18, 20, or 21, with a preference for August 17th. In the event that another

date needs to be scheduled, the parties may have trial scheduling issues that would require a

conference with the Court to find an acceptable date at another time.

       WHEREFORE, for the reasons discussed herein, the Defendant respectfully moves the

Court to continue the sentencing.




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       Submitted on May 15, 2020, by


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                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 15, 2020, a true and correct copy of the foregoing was
electronically filed with the Clerk of the Court using CM/ECF, and thereby served on all interested
parties.

                                             s/ Colby C. Vokey
                                             Colby C. Vokey
                                             Counsel for Defendant John R. Nettleton




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